 

Case: 1:04-cv-00168 Document #: 94 Filed: 06/23/05 Page 1 of 41 PagelD #:1183

UNITED STATES DISTRICT COURT se
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

LEROY ORANGE,
Plainirff,

v. Case No. 04-C-00168
Former Chicago Police Lt. JON BURGE,

Former CPD detectives LEONARD BAJENSKI,
DAVID DIOGUARDI, ROBERT FLOOD,
RAYMOND MADIGAN, DENNIS MCGUIRE,
RAYMOND MCNALLY, and DANIEL MCWEENY;
THE ESTATE of former detective JOHN MCCABE;
former ASA DENNIS DERNBACH; States Attorney
RICHARD DEVINE; ASA JOHN DOE; former CPD
Superintendent TERRY HILLARD; former Chicago
Police Superintendent LEROY MARTIN; former OPS
Director GAYLE SHINES; aide to the Superintendent,
THOMAS NEEDHAM; the CITY OF CHICAGO,
ILLINOIS, and the COOK COUNTY STATE’S
ATTORNEY’S OFFICE,

Judge Ronald A. Guzman

Magistrate Judge Sidney Schenkier

Smee? meme Nene” Norm ee ee ee Ne ee ee ee Se eee ee ee”

Defendants.

 

TO: SEE ATTACHED SERVICE LIST
NOTICE OF FILING

PLEASE TAKE NOTICE that on June 23, 2005, Counsel for Certain Defendants, Jon
Burge, Leonard Bajenski, David Dioguardi, Robert Flood, Raymond Madigan, Dennis McGuire,
Raymond McNally, and Daniel McWeeny, filed Defendant Jon Burge’s Answer to Plaintiff's
First Amended Complaint in the Northern District of Illinois, Eastern Division, 219 S.
Dearbom, Chicago, Illinois, a copy of which is hereby served upon each party listed on attached
service hist.
 

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Dated: June 23, 2005

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Respectfully submitted,

TOF

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CERTIFICATE OF SERVICE

The undersigned, being one of the attomeys of record in the above cause, certifies that he
this day caused a copy of the NOTICE OF FILING and DEFENDANT JON BURGE’S
ANSWER TO PLAINTIFF’S FIRST AMENDED COMPLAINT to be served upon the
attorneys listed on the attached Service List, by depositing the same in the U.S. Mail located at
311 South Wacker Drive, Chicago, Illinois 60606, proper postage prepaid, prior to 5:00 p.m. on

this 23" day of June, 2005.

TOK

Terrence J. Sheahan

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SERVICE LIST
Orange v. Burge, et al.
04 C 00168

 

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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

LEROY ORANGE,
Plaintiff,
Vv.

Former Chicago Police Lt. JON BURGE;

Former CPD detectives LEONARD BAJENSKI],
DAVID DIOGUARDI, ROBERT FLOOD,
RAYMOND MADIGAN, DENNIS MCGUIRE,
RAYMOND MCNALLY, and DANIEL MCWEENY;
THE ESTATE of former detective JOHN MCCABE;
former ASA DENNIS DERNBACH; States Attorney
RICHARD DEVINE, ASA JOHN DOE; former CPD
Superintendent TERRY HILLARD; former Chicago
Police Superintendent LEROY MARTIN; former OPS
Director GAYLE SHINES; aide to the Superintendent,
THOMAS NEEDHAM; the CITY OF CHICAGO,
CHICAGO; COOK COUNTY, ILLINOIS; and

the COOK COUNTY STATE’S ATTORNEY’S
OFFICE,

Defendants.

DEFENDANT JON BURGE’S ANSWER

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Case No. 04 C 00168

Judge Ronald Guzman
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TO PLAINTIFF’S FIRST AMENDED COMPLAINT

Defendant Jon Burge (““Defendant’’) answers Plaintiff's First Amended Complaint

as follows:

1, This is a civil rights action brought pursuant to 42 U.S.C. § 1983 et
seq.; the Judicial Code, 28 U.S.C. §§ 1331 and 1343(a); the Constitution of the
United States; and pendent jurisdiction, as codified in 28. U.S.C. § 1367(a).

ANSWER:

Defendant admits that Plaintiff filed this lawsuit pursuant to 42

U.S.C. § 1983. Defendant also admits that the First Amended Complaint avers purported

violations of Plaintiff's constitutional rights and Illinois state statutes.
 

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2. This Court has jurisdiction of the action pursuant to 28 U.S.C. § 1331.
Venue is proper under 28 U.S.C. § 1391(b). The parties reside, or, at the time the
events took place, formerly resided in this judicial district, and the events giving rise
to the claims asserted herein occurred here as well.

ANSWER: Defendant denies that he resides in this judicial district. Defendant
is without knowledge or information sufficient to form a belief as to the truth or falsity of
Plaintiffs averment concerning the other defendants’ residence. The remaining
averments in this Paragraph purport to set forth conclusions of law to which no response
is required,

I. PARTIES

3. Plaintiff Leroy Orange is a fifty-two year old African-American man,
a resident of the City of Chicago and Cook County, and a citizen of the United
States.

ANSWER: Defendant is without knowledge or information sufficient to form
a belief as to the truth or falsity of Plaintiff's averments that he is fifty two years old, that
he is of African-American descent, that he is a resident of the City of Chicago or that he
is a citizen of the United States.

4. Defendant Jon Burge was a duly appointed and sworn Chicago Police
Lieutenant and the commanding officer of Chicago Police Area 2 Detectives Violent
Crimes Unit. Burge was the commanding officer of Defendants Leonard Bajenski,
David Dioguardi, Robert Flood, Raymond Madigan, John McCabe, Dennis
McGuire, Raymond McNally and Daniel McWeeny, and engaged in the conduct
complained of in the course and scope of his employment and is sued in his
individual capacity. Defendant Burge engaged in a pattern and practice or torture
and brutality himself, and also supervised, encouraged, sanctioned, condoned and
ratified brutality and torture by other detectives, including, but not limited to, the
police Officer Defendants named herein. In 1988, Burge was promoted to
Commander of Area 3 Detectives Division by Defendant Martin and held this
assignment uatil 1991 when he was suspended and, ultimately fired by the Chicago
Police Department for the torture and abuse of Andrew Wilson.

ANSWER: Defendant admits that Plaintiff has sued him in his individual

capacity. With respect to the remaining averments in this Paragraph of Plaintiff's First
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Amended Complaint, Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

5. Defendants Leonard Bajenski, David Dioguardi, Robert Flood,
Raymond Madigan, John McCabe, Dennis McGuire, Raymond McNally and Daniel
McWeeny (referred to herein collectively, including Defendant Burge, as “the
Defendant Officers”) were duly appointed and sworn Chicago Police officers who
were assigned to the Detective Division at Area 2 Violent Crimes Unit under
Defendant Burge’s command, and who engaged in the conduct complained of in the

course and scope of their employment. The Defendant Officers are sued in their
individual capacities.

ANSWER: Defendant admits that Plaintiff has sued Leonard Bajenski, David
Dioguardi, Robert Flood, Raymond Madigan, John McCabe, Dennis McGuire, Raymond
McNally and Daniel McWeeny in their individual capacities. With respect to the
remaining averments in this Paragraph of Plaintiff's First Amended Complaint,
Defendant, on the advice of counsel due to the threat of a potential criminal prosecution,
reluctantly asserts the nights guaranteed to him by the Fifth Amendment of the United
States Constitution, and therefore declines to answer at this time.

6. From 1987 to 1992, Defendant Leroy Martin was the Superintendent
of Police for the City of Chicago, and as such was responsible for the policies,
practices, and customs complained of herein. In 1983, he was Commander of the
Area 2 Detective Division and was thereby Defendant Burge’s direct supervisor. He
engaged in the conduct complained of in the course and scope of his employment
and is sued in his individual capacity.

ANSWER: Defendant admits that Leroy Martin was the former Superintendent
of Police for the City of Chicago. Defendant admits that Plaintiff has sued Leroy Martin

in his individual capacity. With respect to the remaining averments in this Paragraph of

Plaintiff's First Amended Complaint, Defendant, on the advice of counsel due to the
 

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threat of a potential criminal prosecution, reluctantly asserts the rights guaranteed to him
by the Fifth Amendment of the United States Constitution, and therefore declines to

answer at this time.

7. From 1998 to 2004, Defendant Terry Hillard was the Superintendent
of Police for the City of Chicago, and as such was responsible for the policies,
practices, and customs complained of herein. He engaged in the conduct
complained of in the course and scope of his employment and is sued in his
individual capacity.

ANSWER: Defendant admits that Terry Hillard was the former Superintendent
of Police for the City of Chicago. Defendant admits that Plaintiff has sued Terry Hillard
in his individual capacity. The remaining averments in this Paragraph of Plaintiff's First
Amended Complaint purport to set forth conclusions of law to which no response is
required.

8. From 1998 to 2002, Defendant Thomas Needham was counsel to, and
administrative assistant for, Superintendent Terry Hillard, who was his direct

supervisor. He engaged in the conduct complained of in the course and scope of his
employment and is sued in his individual capacity.

ANSWER: Defendant is without knowledge or information sufficient to form
a belief as to the truth or falsity of the averments in this Paragraph of Plaintiff’s First
Amended Complaint.

9. From 1990 to 1998, Defendant Gayle Shines was the Director of the
Office of Professional Standards of the Chicago Police Department. Her direct
supervisor was the Chicago Police Superintendent. She engaged in the conduct
complained of the course and scope of her employment and is sued in her individual
capacity.

ANSWER: Defendant is without knowledge or information sufficient to form

a belief as to the truth or falsity of the averments in this Paragraph of Plaintiff's First

Amended Complaint.
10. Defendant City of Chicago is an Illinois municipal corporation, as
such is responsible for the policies, practices and customs of the Chicago Police
Department, its Office of Professional Standards, its Personnel Division, its
Detective Division, and its Superintendent of Police, as well as those of the Mayor
and his office, the Corporation Counsel and her Office, and the Chicago Police
Board, and is and/or was the employer of each of the Defendant Officers and Police
officials. The City of Chicago is responsible for the acts of Defendant Officers and
police officers while employed by the City of Chicago and while acting within the
scope of their employment.

ANSWER: Defendant admits that the City of Chicago is a municipal entity.
With respect to the remaining averments in this Paragraph of Plaintiff's First Amended
Complaint, Defendant, on the advice of counsel due to the threat of a potential criminal
prosecution, reluctantly asserts the rights guaranteed to him by the Fifth Amendment of
the United States Constitution, and therefore declines to answer at this time.

11. Defendant Dennis Dernbach was an Assistant Cook County State’s
Attorney, (hereinafter referred to as ASA), a supervisor in the Felony Review Unity,
and was assigned to Area 2 in January of 1984. Felony Review was an investigative
arm of the State’s Attorneys’ Office, and as such, the ASAs assigned to this Unit
worked with Chicago Police detectives, inter alia, in interrogating suspects and

taking statements from them. He engaged in the conduct complained of in the
course and scope of his employment and is sued in his individual capacity.

ANSWER: Defendant admits that Dennis Dernbach is sued in his individual
capacity. Defendant is without knowledge or information sufficient to form a belief as to
the truth or falsity of the remaining averments in this Paragraph of Plaintiffs First
Amended Complaint.

12. Defendant Richard Devine has been the State’s Attorney of Cook
County from 1997 to the present, and as such is responsible for the policies,
practices and customs of the State’s Attorneys’ Office. He engaged in the conduct
complained of in the course and scope of his employment and is sued in his
individual capacity.

ANSWER: Defendant admits that Richard Devine is the State’s Attorney of

Cook County and is sued in his individual capacity. Defendant is without knowledge or
 

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information sufficient to form a belief as to the truth or falsity of the remaining averments
in this Paragraph of Plainuffs First Amended Complaint.

13. Defendant John Doe was an Assistant Cook County State’s Attorney
assigned to the Felony Review Unit. He engaged in the conduct complained of in the
course and scope of his employment and is sued in his individual capacity.

ANSWER: Defendant is without knowledge or information sufficient to form
a belief as to the truth or falsity of the averments in this Paragraph of Plaintiff's First
Amended Complaint.

14. Defendant Cook County is a governmental entity within the State of
Illinois, which consists in part of its Cook County State’s Attorney’s Office
(hereinafter referred to as SAO). At all times relevant to this action, Cook County
and the Cook County State’s Attorney’s Office were the employers of Defendants
Devine, Dernbach and Doe, and are necessary parties to this lawsuit.

ANSWER: Defendant is without knowledge or information sufficient to form
a belief as to the truth or falsity of the averments in this Paragraph of Plaintiff's First
Amended Complaint.

15. At all times relevant to this action, each of the named defendants
acted in the scope of employment, and under the color of the laws, regulations, and
customs of the State of Illinois. Each defendant’s actions constituted “state action”
as defined under federal law.

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

Il. FACTUAL ALLEGATIONS

16. On January 11, 1984, Renee Coleman, Tony Coleman, Michelle
Jointer and Ricardo Pedro were murdered in Renee Coleman’s apartment.
 

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ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

17. The Officer Defendants, together with other Area 2 detectives and
personnel, were assigned to investigate the murders.

ANSWER: Defendant, on the advice of counsel! due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

18. On January 12, 1984, Plaintiff was arrested by Defendants Robert
Flood, Raymond Madigan, Dennis McGuire and Daniel McWeeny, after detectives
were told that the had been in Renee Coleman’s apartment the previous night, and
was transported to the Area 2 police station at around 3:20 p.m.

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

19. ‘In the police car on the way to Area 2, Plaintiff asked the Defendant
Officers for an attorney. In response, he was hit in the face by one of the arresting
Defendants.

ANSWER: _ Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this

time.

20. Once at Area 2, Plaintiff was placed in an interrogation room, where
his hands were cuffed behind his back and attached to a metal ring on the wall. He
 

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was interrogated by the Defendant Officers for an extended period of time, and he
denied his involvement in the murders,

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the mghts guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

21. When Plaintiff continued to maintain his innocence, the Defendant
Officers then used a “black box” to administer electric shock to him by placing
electrodes on his arms and on and in his rectum.

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

22. During the extended interrogation of Plaintiff, the Defendant Officers
continued the torture by repeatedly placing an airtight bag over Plaintiff's head,
suffocating him, and by squeezing his testicles.

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

23. During the same time period, the Defendant Officers were also
torturing Plaintiff's co-defendant, Leonard Kidd, with electric shock from the black
box and with suffocation while they interrogated him in another Area 2 interview
room.

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the mghts guaranteed to him by the Fifth

Amendment of the United States Constitution, and therefore deciines to answer at this

time.
 

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24. During the time period that the Defendant Officers were interrogating
and torturing Plaintiff and co-defendant Kidd, Defendant Burge summoned
Defendant Dernbach to Area 2.

ANSWER: _ Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

25. Asa result of his prior experience as a Felony Review supervisor and
Assistant States Attorney, Defendant Dernbach had previously learned of numerous
allegations of electric shock, baggings, and related forms of torture which had
previously been made against Burge and other Area 2 officers, including several of
the Defendants.

ANSWER: _ Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

26. Defendants Dernbach and ASA Doe participated in the continuing
interrogations of the Plaintiff and Leonard Kidd. Throughout the course of their
torture, which continued while Dernbach and Doe were present at Area 2, Plaintiff
screamed out in pain. During the time period in which the Officer Defendants
continued the torture of Plaintiff and Kidd, Dernbach and Doe were present at Area
2 and repeatedly went in and out of the rooms in which Plaintiff and Kidd were
being interrogated.

ANSWER: _ Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

27. As a consequence of their prior knowledge, what they observed and

heard while at Area 2, and their conversations with Plaintiff and Leonard Kidd,
Defendants Dernbach and Doe were on notice that Plaintiff and Kidd were being
 

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tortured by the Defendant Officers during their interrogations, they did nothing to
stop the continuing torture and abuse.

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

28. Plaintiff's interrogation continued for twelve hours until Plaintiff,
fearing that the torture would continue until he gave a statement, and as a direct
result of the torture and physical abuse inflicted upon him by the Defendant
Officers, submitted to the Defendant Officers’ demands and agreed to make a false
statement implicating himself in the murders.

ANSWER: _ Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the nghts guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

29. Plaintiff's tortured “confession” was based on information supplied to
Dernbach by Defendant Burge, by the other Defendants Officers, and by Leonard
Kidd, who supplied false information which was a product of his torture.

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

30. The Defendant Officers, through their torture, physical abuse, and
coercion, and Defendants Dernbach and Doe, through their questioning and failure
to stop the continuing torture and abuse, thereby constructed false oral admissions,
and a false written statement which they attributed to the Plaintiff.

ANSWER: _ Defendant, on the advice of counsel due to the threat of a potential

criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth

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Amendment of the United States Constitution, and therefore declines to answer at this
time.

31. In Court the next day, and to numerous other persons thereafter,
Plaintiff stated that he had been tortured into giving a false confession.

ANSWER: _ Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

32. On September 27, 1984, the Superintendent of the Chicago Police
Department officially commended the Defendant Officers for the “skillful
interrogation techniques” in questioning Plaintiff.

ANSWER: _ Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

33. The torture techniques used on Plaintiff were strikingly similar to
those used against numerous other suspects at Area 2, and Jater at Area 3, by
Defendant Burge, the other Defendant Officers, and other Area 2 and Area 3
detectives and supervisors from 1973 to 1991,

ANSWER: _ Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

34, The Defendant Officers, together with Defendants Doe and Dernbach,
included the constructed and manufactured false admissions, attributable to
Plaintiff, which they knew were false and/or totally unreliable, and coerced, in

official reports and presented these false admissions to prosecuting attorneys who
relied upon and presented this false evidence throughout Plaintiff's case.

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ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this

time.

35. Defendants Bajenski, Dioguardi, Flood, Madigan, McCabe, McGuire,
McNally, McWeeny, and Dernbach also presented this fabricated, coerced and
totally unreliable evidence at Plaintiff's trial through false and perjured testimony.

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

36. The Defendants Officers, together with Defendants Dernbach and
Doe, also suppressed from the prosecutors who prosecuted Plaintiff, from the judge
and jury who heard his case, and from the prosecutors and judges who prosecuted
and heard Plaintiff's appeals and post conviction petitions, that the admissions they
attributed to Plaintiff were false and/or totally unreliable, coerced through torture,
and fabricated, and were a product of a pattern and practice of torture and abuse at
Area 2, as well as the physical implements of this pattern and practice, which were
used to torture Plaintiff, Leonard Kidd, and numerous other victims, including the
black box and other shocking devices, plastic bags and typewriter covers, and
various handguns and other weapons.

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

37. While Plaintiff was awaiting trial, the Office of Professional
Standards of the Chicago Police Department (OPS) purported to open an
“investigation” into Plaintiff's allegations of torture. However this “investigation”
was a complete sham and cover-up, and the Defendant Officers and ASAs withheld
their torture of Plaintiff and Leonard Kidd, and their fabrication and coercion of

evidence from the OPS, which did not even bother to question said Defendants, and
the OPS found the allegations to be “not sustained.”

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ANSWER: Defendant is without knowledge or information sufficient to form
a belief as to the truth or falsity of Plaintiff's averment concerning the purported actions
of OPS. With respect to the remaining averments in this Paragraph of Plaintiff's First
Amended Complaint, Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

38. At Plaintiffs trial, his coerced and fabricated “confession” was
presented by the prosecution and provided the basis for his conviction.

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

39. On the basis of his coerced, fabricated and totally unreliable
Statement, Plaintiff was wrongfully convicted by the jury of four counts of murder,
four counts of concealment of homicidal death, and one count of aggravated arson,
and was sentenced to death, Absent the Defendants’ coercion, torture and
fabrication, Plaintiff would neither have been prosecuted nor convicted of crime he
did not commit.

ANSWER: Defendant admits that a jury of Plaintiff's peers convicted Plaintiff
of four counts of murder, four counts of concealment of homicidal death, one count of
aggravated arson, and sentenced him to death. With respect to the remaining averments
in this Paragraph of Plaintiff's First Amended Complaint, Defendant, on the advice of
counsel due to the threat of a potential criminal prosecution, reluctantly asserts the nghts

guaranteed to him by the Fifth Amendment of the United States Constitution, and

therefore declines to answer at this time.

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40. After Plaintiff was convicted, the Office of Professional Standards
completed an investigation into allegations of torture of suspects at Area 2. In a
secret report which was approved by the Director of the OPS and forwarded to
Defendant Superintendent Leroy Martin, the OPS found that from 1973 to 1985
there was a practice of systematic abuse of suspects held in custody at Area 2 and
that certain Area 2 command personnel were aware of such abuse and condoned it.
The OPS further found that this practice included psychological techniques and
planned torture, and that Area 2 command personnel were aware of the systematic
abuse and encouraged it either by actively participating in it or by failing to take
any action to stop it.

ANSWER: Defendant is without knowledge or information sufficient to form
a belief as to the truth or falsity of Plaintiff's averment concerning the purported actions
of OPS. With respect to the remaining averments in this Paragraph of Plaintiff's First
Amended Complaint, Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the mghts guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore deciines to answer at this
time.

41. Plaintiff was extensively interviewed by the OPS investigator who
wrote the section of the Report which found systemic torture, which is now
commonly known as the Goldston Report, and Plaintiff's torture, as well as that of
his co-defendant, Leonard Kidd, were listed as part of the systemic torture at Area 2
in the findings of the Report.

ANSWER: Defendant is without knowledge or information sufficient to form
a belief as to the truth or falsity of Plaintiff's averment concerning the purported actions
of OPS. With respect to the remaining averments in this Paragraph of Plaintiffs First
Amended Complaint, Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth

Amendment of the United States Constitution, and therefore declines to answer at this

time.

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42. In another section of this Report, the OPS also found that Burge and
two other Area 2 detectives tortured Andrew Wilson and recommended that Burge
be fired.

ANSWER: _ Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

43. Defendant Superintendent Martin and other command personnel
delayed, obstructed, and otherwise undermined the OPS investigation, report,
findings and conclusions set forth above, inter alia, by suppressing the findings that
Wilson was tortured and by refusing to suspend, transfer or remove Burge either
before, or for nearly a year after, the findings of the OPS were first made known to
them in November of 1990.

ANSWER: Defendant is without knowledge or information sufficient to form
a belief as to the truth or falsity of Plaintiff's averment concerning the purported actions
of OPS or Defendant Martin. With respect to the remaining averments in this Paragraph
of Plainuff's First Amended Complaint, Defendant, on the advice of counsel due to the
threat of a potential criminal prosecution, reluctantly asserts the rights guaranteed to him
by the Fifth Amendment of the United States Constitution, and therefore declines to
answer at this time.

44. Defendant Martin and other command personnel further delayed,
obstructed, and otherwise undermined the OPS investigation, report, findings and
conclusions set forth above, inter alia, by suppressing the findings that there was
systematic abuse at Area 2 which implicated Defendants Martin, Burge, the Officer
Defendants, and other Area 2 detectives until this report and findings were ordered
produced by Federal Court order in February of 1992. This suppression prevented
Plaintiff from obtaining highly exculpatory evidence for use in his post-trial

proceedings.

ANSWER: Defendant is without knowledge or information sufficient to form

a belief as to the truth or falsity of Plaintiff's averment concerning the purported actions

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of OPS or Defendant Martin. With respect to the remaining averments in this Paragraph
of Plaintiffs First Amended Complaint, Defendant, on the advice of counsel due to the
threat of a potential criminal prosecution, reluctantly asserts the rights guaranteed to him
by the Fifth Amendment of the United States Constitution, and therefore declines to
answer at this time.

45. Additionally, Defendant Martin, Defendant OPS Director Shines, and
other command personnel, in violation of police regulations, refused to investigate
numerous other allegations of police torture which were brought to their attention,
including allegations of electric shock made by torture victim Melvin Jones against
Defendants Burge, McGuire, Flood, and McWeeny, or to investigate Plaintiff's
allegations of torture against these same Officers, despite the findings made in the
Goldston Report, and other specific recommendations to do so.

ANSWER: Defendant is without knowledge or information sufficient to form
a belief as to the truth or falsity of Plaintiff's averment concerning the purported actions
of Defendant Martin and Defendant Shines. With respect to the remaining averments in
this Paragraph of Plaintiff's First Amended Complaint, Defendant, on the advice of
counsel due to the threat of a potential criminal prosecution, reluctantly asserts the nghts
guaranteed to him by the Fifth Amendment of the United States Constitution, and
therefore declines to answer at this time.

46. In September of 1988, Defendant Devine, together with law partner
William Kunkle, and their law firm, were retained by the Defendant City of
Chicago to represent Defendant Jon Burge and several Area 2 detectives, including
John Yucaitis and Patrick O’Hara, in the civil rights lawsuit brought against them
and the City of Chicago by Area 2 torture victim Andrew Wilson.

ANSWER: Defendant admits that State’s Attorney Richard Devine was in
private practice at one time. Defendant also admits that Andrew Wilson filed a lawsuit

against him alleging police abuse. With respect to the remaining averments in this

Paragraph of Plaintiff's First Amended Complaint, Defendant, on the advice of counsel

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due to the threat of a potential criminal prosecution, reluctantly asserts the nghts
guaranteed to him by the Fifth Amendment of the United States Constitution, and
therefore declines to answer at this time.

47. For the next eight years, Defendant Devine, Mr. Kunkle, and their law
firm continued to represent Defendant Burge, John Yucaitis, Patrick O’Hara and
the other Area 2 defendants in the Wilson civil cases, as well as in the Police Board
Proceedings against Burge, Yucaitis and O’Hara, wherein they were retained by the
Fraternal Order of Police (FOP). Additionally, Defendant Devine, Mr. Kunkle and
their law firm were retained by the Defendant City of Chicago to represent
Defendant Burge in another civil rights torture case where a pattern and practice of
torture was alleged. As a result of this representation, Defendant Devine, Mr.
Kunkle and their law firm received over one million dollars in attorney’s fees from
the City of Chicago and the FOP.

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this

time.

48. From 1988 to 1996, Defendant Devine, Mr. Kunkle, and their law firm
were informed of a wealth of compelling evidence that their clients, including Burge,
were centrally involved in a pattern and practice of torturing suspects, including
Plaintiff, at Area 2, and Devine, Kunkle, and their co-counsel, together with
Defendant Burge, and Area 2 detectives Yucaitis and O’Hara, made numerous
litigation decisions designed to protect Burge, Yucaitis, and O’Hara from criminal,
civil and administrative liability in the face of that evidence.

ANSWER: Defendant is without knowledge or information sufficient to form
a belief as to the truth or falsity of Plaintiffs averment concerning any purported
“evidence” that State’s Attorney Richard Devine ailegedly received. With respect to the
remaining averments in this Paragraph of Plaintiffs First Amended Complaint,
Defendant, on the advice of counsel due to the threat of a potential criminal prosecution,

reluctantly asserts the nghts guaranteed to him by the Fifth Amendment of the United

States Constitution, and therefore declines to answer at this time.

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49, In 1997, Defendant Devine became the State’s Attorney of Cook
County. Acting with a clear conflict of interest and acting under the color of his
authority of State’s Attorney, Defendant Devine has continued, from 1997 to the
present, to protect the interests of his Area 2 clients, particularly Defendant Burge,
and to cover up their central role in the pattern and practice of torture, inter alia,
by:

a. making false public statements in which he discredited
evidence of torture against his clients and other Are 2 Defendants
including evidence presented by Plaintiff and other Area 2 victims,
whereby they sought new suppression hearings, new trial, new
sentences, pardons and/or clemency on the basis that false confessions
were tortured from them;

b. making false statements to public officials in which he
discredited the evidence of torture against his clients and other Area 2
Defendants;

c. refusing to investigate the allegations that his clients and other
Area 2 and Area 3 detectives were central actors in a pattern and
practice of torture and abuse which included the torture of Plaintiff,
and obstructing all attempts to so investigate;

d. suppressing evidence which further established that his clients,
and other Area 2 and Area 3 detectives were central actors in the
pattern and practice of torture which included Plaintiff's torture; and
e. otherwise using his influence and decision-making power as
State’s Attorney of Cook County to continue the wrongful conviction
and imprisonment of Plaintiff.

ANSWER: Defendant 1s without knowledge or information sufficient to form
a belief as to the truth or falsity of Plaintiff's averments concerning State’s Attorney
Richard Devine. With respect to the remaining averments in this Paragraph of Plaintiff's
First Amended Complaint, Defendant, on the advice of counsel due to the threat of a
potential criminal prosecution, reluctantly asserts the rights guaranteed to him by the
Fifth Amendment of the United States Constitution, and therefore declines to answer at
this time.

50. From 1993 until 1998 when she left office, Defendant OPS Director
Gayle Shines suppressed findings of OPS investigators that Defendant Dioguardi,
Sergeant John Byrne, and several other Area 2 detectives, under the command of

Defendant Burge, tortured abused six suspects, including death row inmate Stanley
Howard, as well as the evidence which supported these findings.

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ANSWER: Defendant is without knowledge or information sufficient to form
a belief as to the truth or falsity of Plaintiff's averment concerning the purported actions
of Defendant Gayle Shines. With respect to the remaining averments in this Paragraph of
Plaintiff's First Amended Complaint, Defendant, on the advice of counsel due to the
threat of a potential criminal prosecution, reluctantly asserts the rights guaranteed to him
by the Fifth Amendment of the United States Constitution, and therefore declines to
answer at this time.

51. in 1998, Defendants Hillard and Needham, with full knowledge that
Defendant Burge, the other Defendant Officers, and other Area 2 and Area 3
detectives participated in a pattern and practice of torture and abuse of suspects,
including Plaintiff, violated police regulations and obstructed justice by overturning
the OPS findings set forth in paragraph 50 above, by refusing to investigate OPS
Director Gayle Shines’ suppression of evidence, and by suppressing these OPS files
and findings from Plaintiff and other criminal defendants.

ANSWER: Defendant is without knowledge or information sufficient to form
a belief as to the truth or falsity of Plaintiff's averment concerning the purported actions
of Defendants Hillard and Needham. With respect to the remaining averments in this
Paragraph of Plaintiffs First Amended Complaint, Defendant, on the advice of counsel
due to the threat of a potential criminal prosecution, reluctantly asserts the nghts
guaranteed to him by the Fifth Amendment of the United States Constitution, and
therefore declines to answer at this time.

52. The actions of the Defendants set forth above resulted in the further
continuation of Plaintiffs wrongful conviction and false imprisonment until
January 10, 2003, when Illinois Governor George Ryan granted Plaintiff a pardon
on basis of innocence. In granting Plaintiff and three other Burge death row torture
victims, Madison Hobley, Aaron Patterson, and Stanley Howard, innocence
pardons, the Governor found that:

The category of horrors was hard to believe. If I hadn’t reviewed the

cases myself, I wouldn’t believe it. We have evidence from four men,
who did not know each other, all getting beaten and tortured and

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convicted on the basis of the confessions they allegedly provided.

They are perfect examples of what is so terribly broken about our

system.

ANSWER: Defendant admits that former Governor George Ryan pardoned
Plaintiff and others of some of their crimes purportedly on the basis of innocence. With
respect to the remaining averments in this Paragraph of Plaintiffs First Amended
Complaint, Defendant, on the advice of counsel due to the threat of a potential criminal
prosecution, reluctantly asserts the rights guaranteed to him by the Fifth Amendment of
the United States Constitution, and therefore declines to answer at this time.

53. In response to Plaintiffs innocence pardon, Defendant Devine, again
acting on behalf of his Area 2 clients, including Defendant Burge, and under the
color of his office, publicly defamed Plaintiff and the three other torture victims
whom Governor Ryan also pardoned on the basis of innocence by stating: “I think
these people are evil. Should these people be among us? I don’t think so.” He
referred to them as “convicted murderers” while condemning the pardons as
“outrageous” and unconscionable,” and threatened to challenge them in Court.

ANSWER: Plaintiffs averment that State’s Attomey Richard Devine
“defamed” Plaintiff while acting “under the color of his office” constitutes a conclusion
of law to which no response is required. Defendant admits that State’s Attorney Devine
made statements concerning former Governor George Ryan’s pardons of certain
individuals. Defendant denies that State’s Attorney Devine was acting as Defendant’s
attorney and on his behalf when State’s Attorney Devine made statements concerning
former Governor Ryan’s pardons of certain individuals. Defendant is without knowledge
or information sufficient to form a belief as to the truth or falsity of the remaining
averments in this Paragraph of Plaintiff's First Amended Complaint.

54. _ Plaintiff spent nineteen horrible years in prison for a crime he did not
commit, most of which were spent on Death Row in maximum security prisons in

the State of Ilinois. Nearly twenty years of Plaintiffs adult life have been
wrongfully taken from him due to the actions of the Defendants in this case.

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ANSWER: Defendant admits that Plaintiff was incarcerated on death row.
With respect to the remaining averments in this Paragraph of Plaintiff's First Amended
Complaint, Defendant, on the advice of counsel due to the threat of a potential cnminal
prosecution, reluctantly asserts the rights guaranteed to him by the Fifth Amendment of
the United States Constitution, and therefore declines to answer at this time.

55. The time Plaintiff spent in prison were emotionally, physically, and
psychologically grueling. He spent most of his adult life alone in a tiny cell on Death
Row under the most oppressive and stringent conditions.

ANSWER: Defendant is without knowledge or information sufficient to form
a belief as to the truth or falsity of the averments in this Paragraph of Plaintiff's First
Amended Complaint.

56. In the nineteen lost years spent in prison, Plaintiff suffered from
constant fear and anxiety, deep depression, despair, rage, boredom, and loneliness.
Plaintiff suffered from the loss of sustained contact with his children. He continues
to live under the effect of his isolation, incarceration, and depression.

ANSWER: Defendant is without knowledge or information sufficient to form
a belief as to the truth or falsity of the averments in this Paragraph of Plaintiffs First
Amended Complaint.

57. All the while suffering from the indignity, humiliation, shame,
embarrassment, disgrace and discomfort of prison, Plaintiff further suffered the
specter of an imminent death sentence for crimes he did not commit. The emotional
and psychological scars from this injustice alone are enormous.

ANSWER: _ Defendant is without knowledge or information sufficient to form
a belief as to the truth or falsity of the averments in this Paragraph of Plaintiff's First
Amended Complaint.

58. Defendants Burge, McGuire, Bajenski, McNally, Dioguardi,

McWeeny, Madigan, Flood, McCabe, Doe, Dernbach, Martin, Devine, Shines,
Hillard, and Needham, acting jointly and with other police and prosecutorial

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investigative, supervisory and command personnel, together and under color of law,
reached an understanding, engaged in a course of conduct, engaged in a joint action
and otherwise conspired among and between themselves to deprive Plaintiff of his
constitutional rights, and did deprive Plaintiff of said rights, including his rights to
be free from unreasonable arrest and seizure, from wrongful confinement and
imprisonment, from involuntary incrimination, and from interrogation techniques
which “shock the conscience” and his rights to access to the Courts and to a fair and
impartial trial, as protected by the First, Fourth, Fifth, Sixth, Eighth, and
Fourteenth Amendments to the United States Constitution. Because said actions
were done with the knowledge and purpose of depriving Plaintiff, who is African-
American, of the equal protection of the laws and/or equal privileges and
immunities under the law, and with racial animus toward the Plaintiff, they also
deprived Plaintiff of his right to equal protection of the laws under the Fourteenth
Amendment, and U.S.C. §§ 1983 and 1985.

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

59. In furtherance of this conspiracy or conspiracies, Defendants Burge,
McGuire, Bajenski, McNally, Dioguardi, McWeeny, Madigan, Flood, McCabe, Doe,
Dernbach, Martin, Devine, Shines, Hillard, and Needham, together with their co-
conspirators, each committed one or more of overt acts set forth above, including,
but not limited to, the wrongful arrest, imprisonment, charging and prosecution of
Plaintiff and other torture victims; the fabrication and coercion of false and totally
unreliable inculpatory evidence against Plaintiff and other torture victims; the
coercion and manufacture of false and totally unreliable evidence from Plaintiffs
co-defendant; the failure to stop the coercive interrogations of Plaintiff and his co-
defendant, despite having knowledge that they were being tortured and abused; the
unconstitutional torture and coercion of Plaintiff and other torture victims in order
to compel them to make false inculpatory statements, against themselves and/or
others; the repeated deception of prosecuting attorneys and judges, by, inter alia,
making knowing misstatements and presentation of this knowingly false and
incomplete evidence to prosecutors and judges; the making of false and defamatory
public statements concerning Plaintiff and other torture victims; the giving of false
testimony and the filing of false and incomplete statements and reports; the
suppression of favorable, exculpatory evidence; the failure to come forward with a
truthful account of the events; the refusal to investigate and the subversion and
quashing of good faith investigations and findings; the abuse of public office and the
exploitation of a blatant conflict of interest to cover-up the acts of torture and
abuse; and the other acts set forth above.

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ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

60. Said conspiracy or conspiracies, joint actions and overt acts continue
to this date have caused and continue to cause Plaintiff's constitutional rights to be
violated and the injuries, pain, suffering, fear, mental anguish, detention,
imprisonment, humiliation, defamation of character and reputation, and loss of
freedom and companionship, as set forth more fully above and below.

ANSWER: _ Defendant, on the advice of counsel due to the threat of a potential

criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth

Amendment of the United States Constitution, and therefore declines to answer at this

time.
COUNTI
(42 U.S.C. 1983 Claim for Deprivation of Right to Fair Trial and for Wrongful
Conviction)

61. _— Plaintiff re-alleges paragraphs 1 through 60.
ANSWER: Defendant incorporates as if fully stated herein his responses to
Paragraphs | through 60 of Plaintiff's First Amended Complaint.

62. Defendants Burge, McGuire, Bajenski, McNally, Dioguardi,
McWeeny, Madigan, Flood, McCabe, Dernbach, and Doe, individually, jointly, and
in conspiracy, caused the wrongful charging, prosecution, and conviction of
Plaintiff, and these same Defendants, together with Defendants, Martin, Devine,
Shines, Hillard, and Needham, individually, jointly, and in conspiracy, caused the
continuation of said wrongful conviction, by coercing, constructing and/or
fabricating the false and totally unreliable statements which formed the basis for
Plaintiffs charging, prosecution and conviction, by withholding from the
prosecutors, judges and defense attorneys involved in Plaintiff’s prosecution the fact
that these admissions were false and/or totally unreliable, fabricated, and coerced,
by suppressing additional exculpatory torture findings and evidence, as well as
other exculpatory evidence, by giving a false and incomplete version of events to
prosecutors, by writing false reports and giving false testimony, by improperly
influencing the judges hearing Plaintiff's case, inter alia, making false public

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statement, by obstructing investigations which would have led to discovery of
further exculpatory evidence, and by the additional wrongdoing set forth above,
thereby unconstitutionally depriving Plaintiff or his liberty and violating his right to
a fair and impartial trial and not to be wrongfully convicted, as guaranteed by the
Fourteenth Amendment to the U.S. Constitution.

ANSWER: _ Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this

time.

63. The action of Defendants Burge, McGuire Bajenski, McNally,
Dioguardi, McWeeny, Madigan, Flood, McCabe, Dernbach, Doe, Martin, Devine,
Shines, Hillard, and Needham, in depriving Plaintiff of his right to a fair trial and
not to be wrongfully convicted were the direct and proximate cause of the injuries to
Plaintiff which are set forth above.

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

COUNT Il
(42 U.S.C. § 1983 Claim for False Arrest and Imprisonment)

64. Plaintiff re-alleges paragraphs 1 through 63.
ANSWER: Defendant incorporates as if fully stated herein his responses to
Paragraphs | through 63 of Plaintiff's First Amended Complaint.

65. The actions of Defendants Burge, McGuire, Bajenski, McNally,
Dioguardi, McWeeny, Madigan, Flood, McCabe, Dernbach, and Doe, individually,
jointly, and in conspiracy, in falsely arresting and imprisoning Plaintiff, and these
same Defendants, together with Defendants Martin, Devine, Shines, Hillard, and
Needham, individually, jointly and in conspiracy in continuing said imprisonment
for nineteen years, without probable cause, violated Plaintiffs Fourth and
Fourteenth Amendment rights to be free from unreasonable seizures.

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ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

66. The actions of the Defendants in falsely imprisoning Plaintiff,
continuing said false imprisonment, and covering up their own misconduct were the
direct and proximate cause of Plaintiff's injuries and damages as more fully set
forth above.

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this

time.

COUNT Il
(42 U.S.C. § 1983 Claim for Torture and Physical Abuse)

67. Plaintiff re-alleges paragraphs |} through 66.

ANSWER: Defendant incorporates as if fully stated herein his responses to
Paragraphs | through 66 of Plaintiff's First Amended Complaint.

68. The actions of Defendants Burge, McGuire, Bajenski, McNally,
Dioguardi, McWeeny, Flood, and McCabe in torturing and physically abusing
Plaintiff and threatening him with additional torture and physical abuse,
individually, jointly, and in conspiracy violated his Fourth and Fourteenth
Amendment rights to be free from unreasonable seizures.

ANSWER: _ Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this

time.

69. Defendants Burge, McGuire, Bajenski, McNally, Dioguardi,
McWeeny, Madigan, Flood, McCabe, Dernbach and Doe were aware of the torture

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and physical abuse of the Plaintiff, and participated in it by allowing the torture and
abuse to continue while having the obligation and duty to stop it, and by failing to
report the abuse to superiors in the Police Department and the State’s Attorney’s
Office.

ANSWER: _ Defendant, on the advice of counsel due to the threat of a potenttal
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

70. The actions of the Defendants, individually, jointly and in conspiracy,
in torturing and physically abusing the Plaintiff, threatening to inflict further
torture and physical abuse, and/or failing to stop the torture and abuse while having

the opportunity and duty to do so, were the direct and proximate cause of Plaintiff's
injuries and damages as more fully set forth above.

ANSWER: _ Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this

time.

COUNT IV
(42 U.S.C. § 1983 Claim for Coercive Interrogation)

71, Plaintiff re-alleges paragraphs | through 70.
ANSWER: Defendant incorporates as if fully stated herein his responses to
Paragraphs | through 70 of Plaintiff's First Amended Complaint.

72. The actions of Defendants Burge, McGuire, Bajenski, McNally,
Dioguardi, McWeeny, Madigan, Flood, McCabe, Dernbach and Doe, individually,
jointly, and in conspiracy, in coercively interrogating Plaintiff, and the actions of
Defendants Burge, McGuire, Bajenski, McNally, Dioguardi, McWeeny, Madigan,
Flood, and McCabe, in using torture techniques which “shock the conscience”
during said interrogations, resulted in false, coerced, and fabricated admissions, and
violated Plaintiff's Fifth and Fourteenth Amendment rights to be free from
compulsory self-incrimination and deprivation of liberty without due process of law.

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ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

73. The actions of the Defendants in using torture and other coercive
techniques to interrogate Plaintiff, and/or condoning and permitting the use of said
techniques, were the direct and proximate cause of Plaintiff's injuries and damages
as more fully set forth above.

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

COUNT V
(42 U.S.C. § 1983 Due Process Claim for Deprivation of Access to Courts}

74, Plaintiff re-aileges paragraphs 1 through 73.
ANSWER: = On March 30, 2005, the Court dismissed this Count. Accordingly,
no response is required.

75. Defendants Burge, McGuire, Bajenski, McNally, Dioguardi,
McWeeny, Madigan, Flood, McCabe, Doe and Dernbach, individually, jointly, and
in conspiracy, by their wrongful charging, prosecution, conviction, and
imprisonment, and these same Defendants, together with Defendants Martin,
Devine, Shines, Hillard, and Needham, by the resultant obstruction of justice and
suppression of evidence, violated Plaintiffs right to access to the courts, infer alia,
by suppressing evidence favorable to the claims asserted herein, and by causing
Plaintiff to potentially forfeit several of his claims, to delay pursing his other claims
for many years, and to proceed without key evidence which remains suppressed or
has been destroyed, lost, or otherwise diminished do to the lapse in time, in violation
of his Fifth and Fourteenth Amendment rights to due process of law and access to

the courts
ANSWER: = On March 30, 2005, the Court dismissed this Count. Accordingly,

no response is required.

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COUNT VI
(42 U.S.C. § 1983 Monell Policy Claim Against City of Chicago)

76. Plaintiff re-alleges paragraphs | through 75.
ANSWER: Defendant incorporates as if fully stated herein his responses to
Paragraphs | through 75 of Plaintiff's First Amended Complaint.

77. The actions of Defendants Burge, McGuire, Bajenski, McNally,
Dioguardi, McWeeny, Madigan, Flood, McCabe, Dernbach, Doe, Martin, Devine,
Shines, Hillard, and Needham, as alleged above, were done pursuant to one or more
interrelated de facto policies, practices and/or customs of the Defendant City of
Chicago, its Police Department, its Office of Professional Standards (OPS) and
Internal Affairs Division (IAD), its Personnel Division, and/or its Superintendents,
as well as its Police Board, the Mayor and his Office, and the Corporation Counsel}
and her Office.

ANSWER: Defendant makes no response to this Paragraph because Count VI
of Plaintiff's First Amended Complaint is not directed against him.

78. At all times material to this complaint, Defendant City and its Police
Department, Superintendents, OPS, IAD, Personne] Division, and/or Detective
Division, as well as the Mayor and his Office, the Corporation Counsel and her
Office, and/or Police Board had interrelated de facto policies, practices, and customs
which included, inter alia:

a) conducting physically, psychologically or otherwise illegally or
improperly coercive interrogations of witnesses, suspects and
arrestees in order to obtain confessions and wrongful convictions,
including, but not limited to, the use of torture techniques under the
command and supervision of Defendant Burge at Area 2, and later at
Area 3;

b) the filing of false reports, and giving false statements and
testimony about said interrogations and confessions and fabricating
parts or all of said confessions, suppressing evidence concerning said
interrogations and confessions, pursuing and obtaining wrongful
prosecutions and false imprisonments on the basis of confessions
obtained during said interrogations, and otherwise covering up the
true nature of said interrogations and confessions in circumstances
which included, but were not limited to, the use of torture techniques
by Area 2 and Area 3 detectives under the command and supervision,
and with the active participation of, Defendant Burge;

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c) the failure to videotape the interrogation or questioning of
suspects, arrestees, and witnesses, including, but not limited to, in the
circumstances set forth in a-b above;

d) the failure to properly train, supervise, discipline, transfer,
monitor, counsel and/or otherwise control police officers, particularly
those who are repeatedly accused of torture and related abuse of
suspects; of false arrests, wrongful imprisonments, malicious
prosecutions and wrongful convictions; of making false reports and
statements; and/or physically, psychologically or otherwise illegally or
improperly coercive questioning or interrogation of witnesses,
suspects and arrestees including but not limited to, persons who were
tortured and or physically and/or psychologically abused during
questioning. This failure to properly train, supervise, discipline,
transfer, monitor, counsel and/or otherwise contro] includes, but is
not limited to “repeater” Defendants Burge, McGuire, Flood,
McNally, McCabe, Dioguardi, Madigan, McWeeny, and all other
Area 2 and 3 detectives who were repeatedly accused of torturing and
physically abusing suspects at Area 2 and Area 3;

e) the police code of silence, specifically in cases were officers
engaged in the violations articulated in paragraphs a-d above,
particularly police torture and other unconstitutional and coercive
interrogations at Area 2 and Area 3 under the command and
supervision of Defendant Burge, whereby police officers refused to
report or otherwise cover-up instances of police misconduct, and/or
the fabrication, suppression and destruction of evidence of which they
were aware, despite their obligation under the law and _ police
regulations to do so. Said code of silence also include police officers
either remaining silent or giving false and misleading information
during official investigations in order to protect themselves or fellow
officers from internal discipline, civil liability, or criminal charges,
and perjuring themselves in criminal cases where they and their
fellow officers have tortured or otherwise coercively or otherwise
unconstitutionally interrogated a suspect, arrestee or witness, or
falsely arrested, imprisoned and prosecuted a criminal defendant, and
includes, but is not limited to, cases, where torture techniques under
the command and supervision of Defendant Burge at Area 2, and later
at Area 3, have been employed; and

f) covering up and suppressing evidence and findings, refusing to
properly investigate, arrest and charge, continuing to finance
Defendant Burge’s defense and otherwise attempting to both publicly
and legally defend his actions long after acknowledging that he had
committed repeated acts of torture, and otherwise obstructing justice
in police torture cases, particularly those that arose at Area 2 and

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Area 3 under the supervision, and with the participation of,
Defendant Burge.

ANSWER: Defendant makes no response to this Paragraph because Count VI
of Plaintiff's First Amended Complaint is not directed against him.

79. The pattern and practice or torture and abuse at Area 2, the cover-up
of said abuse and wrongful prosecutions and convictions which resulted therefrom,
were well known within Area 2 both well before and after Plaintiff was tortured and
wrongfully convicted, including by the Commanders of Area 2, which included
Defendant Leroy Martin, as well as to the successive Police Superintendents,
including Defendants Martin and Hillard, and to the successive Directors of OPS,
including Defendant Shines, the Chiefs of Detectives, including Defendant Hillard,
and to other policy making, command, and supervisory City and police personnel,
who participated in the cover-up and suppression of evidence and the wrongful
prosecution and conviction of the Plaintiff and other torture victims, inter alia, in
the manner set forth in this complaint.

ANSWER: Defendant makes no response to this Paragraph because Count VI
of Plaintiff's First Amended Complaint is not directed against him.

80. Said interrelated policies, practices and customs, as set forth above,
both individually and together, were maintained and implemented with deliberate
indifference, encouraged, inter alia, the coercing of statements from suspects,
witnesses and arrestees, by torture and related abusive tactics and techniques, the
fabrication of confessions and other evidence, the suppression of evidence of torture
and other exculpatory evidence, the intimidation of witnesses, the making of false
statements and reports, the giving of false testimony, and the pursuit and
continuation of wrongful convictions and false arrests and imprisonments, and
were, separately and together, a direct and proximate cause of the unconstitutional
acts and perjury committed by the named Defendants and their co-conspirators,
and the injuries suffered by the Plaintiff.

ANSWER: Defendant makes no response to this Paragraph because Count VI
of Plaintiff's First Amended Complaint is not directed against him.

81. Additionally, said failure to properly train, discipline, monitor,
control, assign, transfer, supervise, and counsel Defendants Burge, McGuire,
Bajenski, McNally, Dioguardi, McWeeny, Madigan, Flood, McCabe, Doe,
Dernbach, Martin, Devine, Shines, Hillard and Needham, was also done with
deliberate indifference and likewise acted as a direct and proximate cause of the
injuries to Plaintiff.

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ANSWER: Defendant makes no response to this Paragraph because Count V1
of Plaintiff's First Amended Complaint is not directed against him.

82. Additionally, and/or alternatively, the involvement in, and ratification
of, the unconstitutional actions set forth above by Chicago police policymakers,
including, but not limited to, Defendants Leroy Martin and Terry Hillard, and their
direct subordinates, including, but not limited to, Defendants Shines and Needham,
establish that said constitutional violations were directly and proximately caused by
the City of Chicago and its Police Department.

ANSWER: Defendant makes no response to this Paragraph because Count VI
of Plaintiff's First Amended Complaint is not directed against him.

COUNT VII
(State Law Claim for False Imprisonment)

83. Plaintiff re-alleges paragraphs 1 through 82.

ANSWER: Defendant incorporates as if fully stated herein his responses to
Paragraphs | through 82 of Plaintiff's First Amended Complaint.

84. The imprisonment of Plaintiff, without probable cause, individually,
jointly, and in conspiracy by Defendants Burge, McGuire, Bajenski, McNally,
Dioguardi, McWeeny, Madigan, Flood, McCabe, Dernbach and _ Doe, its
continuation by these Defendants, together with Defendants Martin, Devine, Shines,
Hillard and Needham, individually, jointly, and in conspiracy constituted the tort of
false imprisonment under IHinois law.

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
crimina! prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

85. Defendants’ actions in imprisoning Plaintiff were willful and wanton.

ANSWER: _ Defendant, on the advice of counsel due to the threat of a potential

criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth

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Amendment of the United States Constitution, and therefore declines to answer at this
time.

COUNT VIII
(State Law Claim for Malicious Prosecution)

86. Plaintiff re-alleges paragraphs 1 through 85.
ANSWER: Defendant incorporates as if fully stated herein his responses to
Paragraphs 1| through 85 of Plaintiff's First Amended Complaint.

$7. Defendants Burge, McGuire, Bajenski, McNally, Dioguardi,
McWeeny, Madigan, Flood, McCabe, Dernbach, and Doe, individually, jointly, and
in conspiracy, initiated a malicious prosecution without probable cause against
Plaintiff, and these same Defendants, together with Defendants Martin, Devine,
Shines, Hillard, and Needham, individually, jointly, and in conspiracy, continued
said prosecution, again without probable cause. Said prosecution was ultimately
terminated in Plaintiff's favor. The Defendants’ actions were done in a willful and
wanton manner, and directly and proximately caused the injury and damage to
Plaintiff set forth above.

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

COUNT Ix
(State Law Claim for Intentional Infliction of Emotional Distress)

88. Plaintiff re-alleges paragraphs 1 through 87.

ANSWER; Defendant incorporates as if fully stated herein his responses to
Paragraphs | through 87 of Plaintiffs First Amended Complaint.

89, Defendants Burge, McGuire, Bajenski, McNally, Dioguardi,
McWeeny, Madigan, Flood, McCabe, Dernbach, and Doe, individually, jointly, and
in conspiracy, by, inter alia, torturing a false confession from Plaintiff and/or by
failing to stop said torture, by constructing and fabricating the details of said

confession, and by procuring his prosecution, conviction, and death sentence for
multiple murders he did not commit by means of said false confession, engaged in

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extreme and outrageous conduct. Additionally these same Defendants, together
with Defendants Devine, Hillard, Shines, Martin and Needham, individually, jointly
and in conspiracy, by fabricating, coercing and suppressing other evidence, by
continuing Plaintiffs false imprisonment on death row procuring his wrongful
conviction, by making false and defamatory statements, by refusing to investigate,
and by otherwise abusing and defaming Plaintiff engaged in additional extreme and
outrageous conduct.

ANSWER: Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
lime.

90. Defendants Burge, McGuire, Bajenski, McNally, Dioguardi,
McWeeny, Madigan, Flood, McCabe, Dernbach, Doe, Martin, Devine, Shines,
Hillard, and Needham, intended, by subjecting Plaintiff, and knew that their
conduct would cause Plaintiff and his family severe emotional distress.

ANSWER: _ Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth
Amendment of the United States Constitution, and therefore declines to answer at this
time.

91. As a direct and proximate result of Defendants’ outrageous conduct,
Piaintiff was injured, and has experienced, and continues to experience, severe
emotional! distress, including fear of execution, nightmares, sleep disruption,
symptoms of post traumatic stress disorder, anxiety, depression, and inability to
focus or concentrate.

ANSWER: _ Defendant, on the advice of counsel due to the threat of a potential
criminal prosecution, reluctantly asserts the rights guaranteed to him by the Fifth

Amendment of the United States Constitution, and therefore declines to answer at this

time.
COUNT X

(State Claim for Conspiracy)

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92. _— Plaintiff re-atleges paragraphs | through 91.

ANSWER: On March 30, 2005, the Court dismissed this Count. Accordingly,
no response is required.

93. Defendants Burge, McGuire, Bajenski, McNally, Dioguardi,
McWeeny, Madigan, Flood, McCabe, Doe, Dernbach, Martin, Devine, Shines,
Hillard, and Needham, with other unsued co-conspirators, including police and
prosecutorial investigative, supervisory, and command personnel, together reached
an understanding, engaged in a course of conduct, and otherwise jointly acted
and/or conspired among and between themselves to falsely imprison and/or to
intentionally inflict sever emotional distress on Plaintiff.

ANSWER: On March 30, 2005, the Court dismissed this Count. Accordingly,
no response is required.

94. ‘In furtherance of this conspiracy or conspiracies, the Defendants
named above, together with their unsued co-conspirators, committed the overt acts
set forth above, including, but not limited to, those set forth in paragraph 59 above.

ANSWER: On March 30, 2005, the Court dismissed this Count. Accordingly,
no response is required.

95. Said conspirac(ies) and overt acts were and are continuing in nature.

ANSWER: On March 30, 2005, the Court dismissed this Count. Accordingly,
no response is required.

96. Defendants’ and their co-conspirators’ overt acts, as set forth above,
which were committed jointly and/or while conspiring together to falsely imprison,

maliciously prosecute, and intentionally inflict emotional! distress on the Plaintiff,
constitute the tort of conspiracy as set forth above.

ANSWER: On March 30, 2005, the Court dismissed this Count. Accordingly,
no response is required.

COUNT XI
(State Law Respondeat Superior Claim)

97. Plaintiff re-alleges paragraphs 1-60 and 83-96.

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ANSWER: Defendant incorporates as if fully stated herein his responses to
Paragraphs | through 60 and 83 through 96 of Plaintiff's First Amended Complaint.

98. Defendants Burge, McGuire, Bajenski, McNally, Dioguardi,
McWeeny, Madigan, Flood, McCabe, Martin, Shines, Hillard and Needham, were,
at ail times material to this complaint, employees of the Defendant City of Chicago,
were acting within the scope of their employment, and their acts which violated state

law are directly chargeable to the Defendant City under state law pursuant to
respondeat superior.

ANSWER: _ Defendant makes no response to this Paragraph because Count XI

of Plaintiff's First Amended Complaint is not directed against him.
COUNT XII
(745 ILCS 10/9-102 and Common Law Claims Against the City, County and SAO)

99. Plaintiff re-alleges paragraphs 1 through 98.

ANSWER: Defendant incorporates as if fully stated herein his responses to
Paragraphs | through 98 of Plaintiff's First Amended Complaint.

100. Defendant City of Chicago was the employer of Defendants Burge,
McGuire, Bajenski, McNally, Dioguardi, McWeeny, Madigan, Flood, McCabe,
Martin, Shines, Hillard and Needham at all times relevant and material to this
complaint.

ANSWER: Defendant makes no response to this Paragraph because Count XII

of Plaintiff's First Amended Complaint is not directed against him.

101. These Defendants committed the acts alleged above under color of law
and in the scope of their employment as employees of the City of Chicago.

ANSWER: Defendant makes no response to this Paragraph because Count XII
of Plaintiff's First Amended Complaint is not directed against him.

102. Defendant Cook County and its State’s Attorneys’ Office was the
employer of Defendants Devine, Dernbach and Doe at all times relevant and
material to this complaint; additionally and/or alternatively, said County is

responsible for any judgment entered against Defendants Dernbach, Doe and
Devine, and is therefore a necessary party thereto.

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ANSWER: Defendant makes no response to this Paragraph because Count XII
of Plaintiff's First Amended Complaint is not directed against him.

103. These Defendants committed the acts alleged above under color of law
and in the scope of their employment as employees of Cook County and its State’s
Attorneys’ Office.

ANSWER: Defendant makes no response to this Paragraph because Count XII
of Plaintiff's First Amended Complaint is not directed against him.

DEFENDANT’S AFFIRMATIVE DEFENSES

Defendant asserts the following affirmative defenses to Plaintiff's First Amended
Complaint:

FIRST AFFIRMATIVE DEFENSE

Plaintiff's claims against Defendant are barred in whole or in part by the doctrine
of qualified immunity.

SECOND AFFIRMATIVE DEFENSE

Plaintiff's claims against Defendant are barred in whole or in part by the doctrine
of collateral estoppel.

THIRD AFFIRMATIVE DEFENSE

Plaintiff failed to mitigate his damages, if any.

FOURTH AFFIRMATIVE DEFENSES

Plaintiff's claims against Defendant are barred in whole or in part by the
applicable statute of limitations.

FIFTH AFFIRMATIVE DEFENSE

Plaintiff's claims against Defendant are barred in whole or in part by the doctrine

of judicial estoppel.

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SIXTH AFFIRMATIVE DEFENSE
Plaintiff's First Amended Complaint fails to state a claim upon which relief may
be granted.
SEVENTH AFFIRMATIVE DEFENSE
Plaintiff cannot maintain a cause of action for wrongful conviction or malicious
prosecution if it is shown that Plaintiff, in fact, participated in the murder of Renee
Coleman, Tony Coleman, Michelle Jointer, and Ricardo Pedro.
DEFENDANT’S JURY DEMAND

Defendant demands a jury tnal.

Respectfully submitted,

TeQKh

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Counsel for Defendant Jon Burge

Dated: June 23, 2005

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